Case 1:10-cv-00521-CCC Document 1 Filed 03/08/10 Page 1 of 8
Case 1:10-cv-00521-CCC Document 1 Filed 03/08/10 Page 2 of 8
Case 1:10-cv-00521-CCC Document 1 Filed 03/08/10 Page 3 of 8
Case 1:10-cv-00521-CCC Document 1 Filed 03/08/10 Page 4 of 8
Case 1:10-cv-00521-CCC Document 1 Filed 03/08/10 Page 5 of 8
Case 1:10-cv-00521-CCC Document 1 Filed 03/08/10 Page 6 of 8
Case 1:10-cv-00521-CCC Document 1 Filed 03/08/10 Page 7 of 8
Case 1:10-cv-00521-CCC Document 1 Filed 03/08/10 Page 8 of 8
